                                                                                       07/13/2018



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division

 JASON KESSLER,                                )
           Plaintiff,                          )       Civil Action No. 3:18cv00015
                                               )
 v.                                            )       ORDER
                                               )
 CITY OF CHARLOTTESVILLE et al.,               )       By:    Joel C. Hoppe
            Defendants.                        )              United States Magistrate Judge

        This matter is before the Court on Defendants’ Motion to Compel. ECF No. 24. The

 motion has been fully briefed, ECF Nos. 25, 37, 41, and the Court held a hearing on July 13,

 2018. For the reasons stated on the record and, for the most part, agreed to by counsel for the

 parties during that hearing, Defendants’ motion is hereby GRANTED to the following extent:

            x   On or before Monday, July 16, 2018, Plaintiff and his counsel shall review the

                ten categories of outstanding discovery identified in Defendants’ reply brief, ECF

                No. 41, at 3–5, and produce any information or documents within Plaintiff’s

                possession or control that have not yet been produced to Defendants.

            x   Defendants are permitted, on or before Wednesday, July 18, 2018, to file a sur-

                reply brief to Plaintiff’s motion for preliminary injunction addressing any of the

                new information or documents produced by Plaintiff.

            x   Defendants are permitted to reopen Plaintiff’s deposition, if necessary, to

                question Plaintiff about any new information or documents produced subsequent

                to Plaintiff’s prior deposition.

            x   Defendants’ request for attorneys’ fees is taken under advisement. Defendants are

                directed to notify the Court within 30 days from the date of this Order whether, in




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             light of any new information or documents produced by Plaintiff, they intend to

             seek attorneys’ fees under Rule 37 of the Federal Rules of Civil Procedure.

       It is so ORDERED.

                                                  ENTER: July 13, 2018



                                                  Joel C. Hoppe
                                                  United States Magistrate Judge




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